                      IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF OHIO
                             EASTERN DIVISION AT AKRON


IN RE:                                           )    CASE NO. 17-50236
                                                 )
LOUIS ANTHONY TELERICO                           )    CHAPTER 7
                                                 )
                                                 )
                                                 )    JUDGE ALAN M. KOSCHIK
DEBTOR                                           )


                  TRUSTEE'S MOTION TO TRANSFER REAL ESTATE
                    HELD IN THE NAME OF LOUIS TELERICO AS
                    TRUSTEE OF THE LOUIS A. TELERICO TRUST


         Now comes Kathryn A. Belfance, Trustee (“Trustee”), and informs the Court that on May

16, 2019 she filed a Notice to Sell Barrington 2, Lot 133, .091 acres of vacant land and that a

Certificate of No Objection was entered on June 12, 2019. At the time of the filing of the

bankruptcy petition, all the real estate of Louis Anthony Telerico, including the subject property,

was held in the name of Louis Telerico, Trustee of the Louis A. Telerico 2010 Amended and

Restated Revocable Trust Indenture dated February 1, 2010. The underwriters for the title

company handling the sale, require assurance that the Trustee has the right to sell the property

and receive the proceeds derived from said sale, notwithstanding that the same is titled in the

name of Louis Telerico, Trustee of the Louis A. Telerico 2010 Amended and Restated Revocable

Trust Indenture dated February 1, 2010.

         WHEREFORE, the Trustee prays that the Court enter an Order that declares that all the




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real estate owned by Louis Anthony Telerico, including Barrington 2, Lot 133, .091 acres of

vacant land is property of the Chapter 7 Bankruptcy Estate and that the Trustee has the full

authority to transfer title to said property and receive the proceeds derived from said sale in

accordance with the prior order of the Court, and for such other orders that the Court deems

proper herein.



                                                   Respectfully submitted,

                                                   /s/ KATHRYN A. BELFANCE
                                                   KATHRYN A. BELFANCE
                                                   Registration No. 0018035
                                                   Chapter 7 Trustee
                                                   50 S. Main Street, 10th Floor
                                                   Akron, Ohio 44308
                                                   (330) 434-3000 (Phone)
                                                   (330) 434-9220 (Fax)
                                                   kb@rlbllp.com




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                              CERTIFICATE OF SERVICE


      I hereby certify that on this 13th day of August 2019, a copy of the foregoing Trustee’s
Motion to Transfer Real Estate was served as follows:

Via the Court’s Electronic Case Filing System on these entities and individuals who are listed on
the Court’s Electronic Mail Notice List:

Office of the U.S. Trustee
Susan J. Lax, at susan.lax@hotmail.com
Frederic P. Schwieg, at fschwieg@schwieglaw.com
Todd A. Atkinson, at tatkinson@ulmer.com
Philip Leonard Bednar, at philip.l.bednar@usdoj.gov
Bryan J. Farkas, at bjfarkas@vorys.com
Scott D. Fink, at ecfndoh@weltman.com
Stephen R. Franks, at amps@manleydeas.com
Bryan T. Kostura, at bkostura@mcglinchey.com
Allison Manayan, at amanayan@portageco.com
Michael J. Occhionero, at mjocolpa@sbcglobal.net
James W. Sandy, at jsandy@mcglinchey.com
Richard P. Schroeter, at rschroeter@amer-collect.com
David J. Sternberg, at djsternberg@ameritech.net
Joshua Ryan Vaughan, at jvaughan@amer-collect.com
Steven L. Wasserman, at swasserman@westonhurd.com
Maria D. Giannirakis, ust06 maria.d.giannirakis@usdoj.gov
Scott R. Belhorn, ust35 Scott.R.Belhorn@usdoj.gov
Kathryn A. Belfance, Trustee, at kb@rlbllp.com

And by regular U.S. mail, postage prepaid, on:

Louis Anthony Telerico, Debtor, P.O. Box 928, Aurora, OH 44202
Also served at 545 Bristol Dr., Aurora, OH 44202
Christopher J. Niekamp, 23 S. Main Street, Akron, OH 44308

All creditor’s on the Debtor’s creditor mailing matrix




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          NOTICE OF TRUSTEE’S MOTION TO TRANSFER REAL ESTATE

        Kathryn A. Belfance, the Chapter 7 Trustee has filed papers with the court to approve a
transfer or real estate, a copy of which is attached.

       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult one.)

       Parties in interest shall take notice that any party wishing to object to said motion
has fourteen (14) days, or such other time fixed by the Federal Rules of Bankruptcy
Procedure or statute or as the Court may order, after service is filed and serve a response
or request for hearing. If no response or request for hearing is timely filed with the Court
and served upon counsel for the movant, the Court may grant the relief requested in the
motion without a hearing.

        If you do not want the court to approve the Motion without holding a hearing, or if you
want the court to consider you views on the Motion, then on or before August 27, 2019, you or
your attorney must:

               File with the court a written objection or response to:

                            Clerk, United States Bankruptcy Court
                                       2 South Main St.
                                     Akron, Ohio 44308

       If you mail your Objection to the court for filing, you must mail it early enough so the
Court will receive it on or before the date stated above.
You must also mail a copy to:

                              Kathryn A. Belfance, Esq.
                              Roderick Linton Belfance L.L.P.
                              50 S. Main Street, 10th Floor
                              Akron, Ohio 44308

        If you or your attorney do not take these steps, the court may decide that you do not
oppose the relief sought in the motion or objection and may enter an order granting that
relief without holding a hearing.

Date: August 13, 2019                        Signature:     /s/ Kathryn A. Belfance
                                             Name:          Kathryn A. Belfance, Esq.




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